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                  IN THE UNITED STATES BANKRUPTCY DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

     In re:
                                                                     Chapter 11
      YELLOW CORPORATION, et al.,1                                   Bankr. Case No. 23-11069(CTG)

                                Debtors.                             (Joint Administration Requested)




     ROGER KEEF, on behalf of himself and all others
     similarly situated,

                                       Plaintiff,                     Adv. Pro. No.

     v.

     YELLOW CORPORATION, YRC INC.
     (d/b/a YRC FREIGHT)

                                       Defendant.




                   CLASS ACTION ADVERSARY PROCEEDING COMPLAINT

           Plaintiff Roger Keef (“Plaintiff”)2 brings this Class Action Complaint individually and on

behalf of himself and a putative class of similarly situated former employees of Yellow

Corporation. Plaintiff alleges the following based on (a) personal knowledge, (b) the

investigation of counsel, and (c) information and belief:




1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
2
    Sauder Schelkopf LLC has been contacted by over 100 former employees of the Defendant.

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                                   NATURE OF THE ACTION

       1.      This case arises out of Defendant Yellow Corporation’s (“Defendant” or “Yellow

Corp.”) failure to provide its works with the 60-day advance notice required under the federal

Worker Adjustment and Retraining Notification Act (the “WARN Act”), codified at 29

U.S.C. § 2101 et seq.

       2.      Specifically, starting on or about July 28, 2023, Defendant halted its operations

and terminated the employment of approximately 30,000 employees. It has been alleged that prior

to ceasing operations and abruptly terminating its employees, Defendant had failed to contribute

to its pension and health insurance plans.

       3.      Through this action, Plaintiff and other similarly situated employees of

Defendant seek recovery of damages in the amount of sixty (60) days’ pay and benefits under

the WARN Act, as well as civil penalties as set forth below.

                                  JURISDICTION AND VENUE

       4.      The Court has federal question subject matter jurisdiction pursuant to 28 U.S.C. §

1331, as this case is being brought pursuant to the WARN Act, 29 U.S.C. § 2101, et seq. and the

Amended Standing Order of Reference of the United States District Court for the District of

Delaware Dated February 29, 2012.

       5.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (B) and (O).

Pursuant to Fed. R. Bankr. P. 7012(b) and Del. Bankr. L.R. 7012-1, Plaintiffs do consent to entry

of final orders or judgment by the bankruptcy court.

       6.      Venue is proper in this District pursuant to 28 U.S.C. § 1409 and 29 U.S.C. §

2104(a)(5) because Defendant is incorporated under the laws of the state of Delaware.


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                                            THE PARTIES
              Plaintiff

        7.        Plaintiff Roger Keef is a resident of Illinois and was employed by Defendant

as a Dock Hand / Spotter from February 1995 until July 30, 2023. Plaintiff worked at Defendant’s

facility located at 2000 Lincoln Highway, Chicago Heights, Illinois (the “Chicago Heights

Facility”).

        8.        On July 30, 2023, Plaintiff was notified that he was terminated without cause

effective immediately. At the time of his termination, Plaintiff was paid an hourly wage of $26.88

per hour. Plaintiff worked over 40 hours per week and was paid overtime wages for all hours worked

in excess of 40 hours per week. Along with his wages, Plaintiff received health insurance, a 401(k)

plan, short-term disability insurance, long-term disability insurance, life insurance, accidental

death and dismemberment insurance, vacation pay, and monthly bonuses (combined, the

“Benefits”).

        9.        On July 30, 2023, Plaintiff became aware through social media it was his last day

and that he should not report to work thereafter.

        10.       At no time prior to July 30, 2023, did Plaintiff receive written notice that his

employment would be terminated.

        11.       Along with Plaintiff, approximately 400 other employees of Defendant who

worked at, reported to, or received assignments from the Chicago Heights Facility were terminated

on or about July 30, 2023 without 60 days’ advance written notice.

              Defendant

        12.       Defendant operated a less than truckload business (“LTL”) with operations

throughout the United States in which carriers ship goods from multiple shippers in single trailers.


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Defendant advertised that it is the “original less-than-truckload carrier” and that it “created this

industry.”3 A less-than-truckload shipping refers to a shipping service for smaller loads or freight

quantities. Conversely, full truckload generally refers to a shipment that fills up a truck on its

own.

       13.     Yellow Corporation is a Delaware corporation with its corporate headquarters

located in Nashville, Tennessee.

       14.     Until July 28, 2023, Defendant operated approximately 80 freight terminals and

200 other locations throughout the United States.

       15.     On July 28, 2023, Defendant carried out a termination of operations and/or mass

layoffs and closures at its facilities nationwide. The abrupt closure resulted in the loss of

employment for at least 33% of its workforce and at least 50 full-time employees, not including

part-time employees at most facilities.

                                   FACTUAL BACKGROUND

       16.     Starting on or about July 28, 2023, news broke that Yellow Corp. was shutting

down its operations and laying off all of its approximately 30,000 employees.4

       17.     The Teamsters Union, which is reported to represent approximately 22,000 of

the 30,000 laid off employees, released a statement where it called the news “unfortunate but

not surprising. Yellow has historically proven that it could not manage itself despite billions of

dollars in worker concessions and hundreds of millions in bailout funding from the federal

government. This is a sad day for workers and the American freight industry.”5

       18.     In 2020, Yellow applied for and received a $700 million loan through the


3
  https://www.myyellow.com/us/en/about-us (last visited Aug. 6, 2023).
4
  https://qz.com/yellow-shutting-down-filing-bankruptcy-teamsters-union-1850691143 (last
visited Aug. 6, 2023).
5
  Id.
                                                  4
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COVID-19 relief effort. In exchange for the loan, the Treasury department took a 30% stake in

Yellow Corp. Recently, the Congressional Oversight Committee questioned whether Yellow

Corp. should have received a bailout from taxpayers.6

       19.         At the time it received its loan, Yellow Corp. was also facing charges of

defrauding the government through overbilling on shipments of items for the US military. The

dispute eventually settled and Yellow Corp. paid a $6.85 million fine.

       20.         On August 6, 2023, Defendant filed a voluntary petition for relief under Chapter

11 of Title 11 the United States Bankruptcy Code in this Court.

                                CLASS ACTION ALLEGATIONS

             21.      Plaintiff sues under Rules 23(a), (b)(1), (b)(2) and (b)(3) of the Federal

    Rules of Civil Procedure made applicable by Fed. R. Bankr. P. Rule 7023 and the WARN Act

    under 29 U.S.C. § 2104(a)(5), individually and on behalf of the following Class:

             All persons employed at by Defendant whose employment was involuntarily
             terminated starting on or about July 28, 2023 without receiving sixty (60) days’
             written notice before the date of termination of employment.

       22.         Excluded from the above Class is: (1) any entity in which Defendant have a

controlling interest; (2) officers or directors of Defendant; (3) this Court and any of its

employees assigned to work on the case; and (4) all employees of the law firms representing

Plaintiff and the Class.

       23.         Numerosity (Federal Rule of Civil Procedure 23(a)(2)) – The members of the

Class are so numerous that a joinder of all members would be impracticable. While the exact

number of the members of the Class is presently unknown to Plaintiff, and can only be

determined through appropriate discovery, Plaintiff believes that the Class is equal to nearly


6
  https://www.transportdive.com/news/treasury-department-loan-yellow-corp-congressional-
report/654153/ (last visited Aug. 6, 2023).
                                                    5
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30,000 members.

       24.     Upon information and belief, Defendant has databases, and/or other

documentation identifying those employees whose employment was terminated on or about

July 28, 2023 as part of the mass layoff. Further, the Class definition identifies unnamed

plaintiffs by describing a set of common characteristics sufficient to allow a member of that

group to identify him or herself as having a right to recover. Other than by direct notice by

mail or email, alternatively proper and sufficient notice of this action may be provided to the

Class members through notice published in newspapers or other publications.

       25.     Commonality (Federal Rule of Civil Procedure 23(a)(2)) – This action involves

common questions of law and fact. These common questions of law and fact take precedence

over those questions that may only affect individual Class members. The questions of law and

fact common to both Plaintiff and the Class members include, but are not limited to, the

following: (a) whether Defendant was an employer under the WARN Act; whether Plaintiff

and the Class were employees; whether Defendant’s employment locations were covered

facilities; whether Defendant gave at least sixty days advance written notice to Plaintiff and the

Class; and whether Defendant failed to provide 60 days of wages and other employee benefits

following their respective terminations.

       26.     Typicality (Federal Rule of Civil Procedure 23(a)(3)) – Plaintiff’s claims are

typical of all of the members of the Class. The evidence and the legal theories regarding

Defendant’s alleged wrongful conduct are substantially the same for Plaintiff and all of the

Class members, as Plaintiff was an employee of Defendant and Plaintiff’s employment was

terminated without proper notice on or about July 28, 2023.

       27.     Adequacy (Federal Rule of Civil Procedure 23(a)(4)) – Plaintiff will fairly and



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adequately protect the interests of the Class members. Plaintiff has retained competent counsel

experienced in class action litigation to ensure such protection. There are no material conflicts

between the claims of the representative Plaintiff and the members of the Class that would

make class certification inappropriate. Plaintiff and his counsel intend to prosecute this action

vigorously.

       28.     Predominance and Superiority (Federal Rule of Civil Procedure 23(b)(3)) – The

common questions of law or fact identified herein and to be identified through discovery take

precedence over questions that may affect only individual Class members. Further, the class

action is superior to all other available methods for the fair and efficient adjudication of matter.

Because the injuries suffered by the individual Class members may be relatively small, the

expense and burden of individual litigation would make it virtually impossible for Plaintiff and

Class members to individually seek redress for Defendant’s wrongful conduct. Even if any

individual person or group(s) of Class members could afford individual litigation, it would be

unduly burdensome to the courts in which the individual litigation would proceed. The class

action device is preferable to individual litigation because it provides the benefits of unitary

adjudication, economies of scale, and comprehensive adjudication by a single court. In

contrast, the prosecution of separate actions by individual Class members would create a risk

of inconsistent or varying adjudications with respect to individual Class members that would

establish incompatible standards of conduct for the party (or parties) opposing the Class and

would lead to repetitious trials of the numerous common questions of fact and law. Plaintiff

knows of no difficulty that will be encountered in the management of this litigation that would

preclude its maintenance as a class action. As a result, a class action is superior to other

available methods for the fair and efficient adjudication of this controversy. Absent a class



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action, Plaintiff and the Class members will continue to suffer losses, thereby, allowing these

violations of law to proceed without remedy and allowing Defendant to retain the proceeds of

their ill-gotten gains.

        29.     Plaintiff contemplates the eventual issuance of notice to the proposed Class

members setting forth the subject and nature of the instant action. Upon information and belief,

Defendant’s own business records and electronic media can be utilized for the contemplated

notices. To the extent that any further notices may be required, Plaintiff would contemplate

the use of additional media and/or mailings.


                                FIRST CLAIM FOR RELIEF
                          VIOLATION OF THE FEDERAL WARN ACT

        30.     Plaintiff incorporates by reference the allegations in the preceding paragraphs.

        31.     At all times material herein, Plaintiff, and similarly situated persons, have been

entitled to the rights, protections, and benefits provided under the federal WARN Act, 29 U.S.C.

§ 2101 et. seq. Plaintiff and members of the Class are “affected employees” of Defendant within

the meaning of 29 U.S.C. §2101(a)(5).

        32.     Defendant was an “employer” as that term is defined in 29·U.S.C. § 210l(a)(l)

and 20 C.F.R. § 639.3(a). Defendant employed more than 100 employees who in the aggregate

worked at least 4,000 hours per week exclusive of hours of overtime within the United States.

        33.     Starting on or about July 28, 2023, Defendant engaged in a “mass layoff” at the

Facility, as that term is defined in 29 U.S.C. § 2101(a)(3).

        34.     Plaintiff is informed and believes, and thereon alleges, that the mass layoff

resulted in “employment losses,” as that term is defined by 29 U.S.C. § 2101(a)(3), for at least

50 employees constituting at least of 33% of the employees at the Facility.



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       35.      Plaintiff and each of the other members of the Class had their employment

terminated without cause.

       36.      Defendant failed to give Plaintiff and other members of the Class written notice

that complied with the requirements of the federal WARN Act.

       37.      Plaintiff and each of the other Class members are “aggrieved employees” of

Defendant, as that term is defined in 29 U.S.C. §2104(a)(7).

       38.      Defendant failed to pay Plaintiff and each of the Class members their respective

wages, salary, commissions, bonuses, accrued holiday pay and accrued vacation pay for 60 days

following notice of their terminations and failed to pay accrued retirement benefits, for 60 days

following notice of their respective terminations. Plaintiff and the Class have been injured as a

result of these federal WARN Act violations.

       39.      As a result of Defendant’s violation of the federal WARN Act, Plaintiff and the

Class are entitled to back pay for each day of Defendant’s violation at a rate of compensation

not less than the higher of the average regular rate received by each employee during the last 3

years of the employee’s employment, or the final regular rate received by such employee, up to

a maximum of 60 days.

       40.      Plaintiff and the Class are also entitled to all benefits under any employee benefit

plan described in 29 U.S.C. § 1002(3), including the cost of medical expenses incurred during

the employment loss which would have been covered under an employee benefit plan if the

employment loss had not occurred, up to a maximum of 60 days.

       41.      Defendant is also liable to Plaintiff for reasonable attorneys’ fees under 29 U.S.C.

§ 2104(a)(6).




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                            SECOND CLAIM FOR RELIEF
                       VIOLATIONS OF THE ILLINOIS WARN ACT

       42.     Plaintiff incorporates by reference the allegations in the preceding paragraphs.

       43.     At all times material herein, Plaintiff, and similarly situated persons, have been

entitled to the rights, protections, and benefits provided under Illinois’ WARN Act, codified at

820 ILCS 65 et. seq.

       44.     Plaintiff and members of the Class are “affected employees” of Defendant within

the meaning of 820 ILCS 65/5(a).

       45.     Defendant was an “employer” as that term is defined in 820 ILCS 65/5(c) and

continue to operate as a business. Defendant employed 75 or more employees, excluding part-

time employees, who in the aggregate worked at least 4,000 hours per week exclusive of hours

of overtime.

       46.     Starting on or about July 28, 2023, Defendant engaged in a “mass layoff” as that

term is defined in 820 ILCS 65/5(d).

       47.     Plaintiff is informed and believes, and thereon alleges, that the mass layoff

resulted in “employment loss,” as that term is defined by 820 ILCS 65/5(b).

       48.     Plaintiff and each of the other members of the Class had their employment

terminated without cause.

       49.     Defendant failed to give Plaintiff and other members of the Class written notice

that complied with the requirements of Illinois’ WARN Act.

       50.     Defendant failed to pay Plaintiff and each of the Class members their respective

wages, salary, commissions, bonuses, accrued holiday pay and accrued vacation pay for 60 days

following notice of their terminations and failed to pay accrued retirement benefits, for 60 days

following notice of their respective terminations. Plaintiff and the Class have been injured as a

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result of these WARN Act violations.

       51.      As a result of Defendant’s violation of Illinois’ WARN Act, pursuant to 820

ILCS 65/30, Plaintiff and the Class are entitled to back pay for each day of Defendant’s violation

at a rate of compensation not less than the higher of the average regular rate received by each

employee during the last 3 years of the employee’s employment, or the final regular rate

received by such employee, up to a maximum of 60 days.

       52.      Plaintiff and the Class are also entitled to the value of the cost of any benefits to

which the employee would have been entitled had his or her employment not been lost, including

the cost of any medical expenses incurred by the employee that would have been covered under

an employee benefit plan, up to a maximum of 60 days.

       53.      Pursuant to 820 ILCS 65/40, Defendant is also liable for a civil penalty up $500

for each day of its violation of Illinois’ WARN Act

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of members of the Class, request the

following relief:

       1.       For an order certifying this action as a class action under Federal Rule of Civil

Procedure 23;

       2.       For an order determining that Defendant has violated the provisions of the federal

WARN Act and Illinois’ Warn Act;

       3.       For an award of damages for unpaid compensation and owed Plaintiff and Class

Members pursuant to the federal WARN Act and Illinois’ WARN Act;

       4.       For an award of civil penalties pursuant to 820 ILCS 65/40;

       5.       Appoitment of Plaintiff as the Class Representative



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       6.      Appointment of the undersigned counsel as Class Counsel.

       7.      An allowed administrative priority claim against Defendants under 11 U.S.C. § 503

for the reasonable attorney’s fees and the costs disbursements that Plaintiff incurs in the

prosecution of this action pursuant to 29 U.S.C. § 2104(a)(6) and/or other applicable law; and

       8.      For such other and further relief, in law or equity, as this Court may deem

appropriate and just.



Dated: August 7, 2023                            Respectfully submitted,

                                                 THE BIFFERATO FIRM PA


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